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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
JEFFREY SIEGEL, Administrator of the   :
Estate of MOUSTAPHA AKKAD, deceased,   :
and MOUSTAPHA AKKAD’S heirs; SOOHA     :
AKKAD, individually; SUSAN GITELSON,   :               17cv6593(DLC)
Special Administrator of the Estate of :
RIMA AKKAD MONLA, deceased, and RIMA   :            OPINION AND ORDER
AKKAD MONLA’s heirs, ZIAD MONLA,       :
individually, and on behalf of his     :
minors sons; and MICHAEL BUTLER,       :
                                       :
                         Plaintiffs,   :
               -v-                     :
                                       :
HSBC BANK USA, N.A. and HSBC NORTH     :
AMERICA HOLDINGS, INC.,                :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

APPEARANCES:

For Plaintiffs:
William T. Gibbs
Corboy & Demetrio, P.C.
33 North Dearborn St., 21st Fl.
Chicago, Illinois 60602

For Defendants:
Mark G. Hanchet
Robert W. Hamburg
Mayer Brown LLP
1221 Avenue of the Americas
New York, New York 10020

DENISE COTE, District Judge:

    Plaintiffs, victims or family members of victims of a

terrorist bombing in Amman, Jordan in 2005, bring claims under

the Anti-Terrorism Act, 18 U.S.C. § 2333 (“ATA”), as amended by
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the Justice Against Sponsors of Terrorism Act, Publ. L. No. 114-

222 130 Stat. 852 (2016) (“JASTA”).      Plaintiffs claim that

defendants, two United States financial institutions, through

services they provided to Al Rajhi Bank (“ARB”), a Saudi Arabian

bank, supported the terrorist organizations al-Qaeda and al-

Qaeda in Iraq (“AQI”) that perpetrated the attack.         Defendants

have moved to dismiss the plaintiffs’ complaint for failure to

state a claim.   For the reasons that follow, the defendants’

motion is granted.



                              BACKGROUND

    The following facts are drawn from the Third Amended

Complaint (“TAC”).   The facts are construed in favor of the

plaintiffs.

    This action arises out of terrorist suicide bombings

perpetrated by al-Qaeda and AQI on November 9, 2005 at three

hotels in Amman, Jordan (“November 9 Attack”).        The plaintiffs

are Americans who survived the attacks or descendants of

American victims who died in the attacks, as well as the

administrators of the estates of the victims who died.         The

plaintiffs bring claims against HSBC Bank USA, N.A. (“HBUS”) and

HSBC North America Holdings, Inc. (“HSBC-NA”).

    HBSC-NA is a financial institution holding company.           It is

the parent company of HBUS.     HSBC-NA does not provide banking

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services, but its directors oversee the anti-money laundering

activities of HBUS.       HBUS is a banking services institution.

Both defendants have their principal place of business in New

York.

     The TAC alleges that the defendants failed to take

reasonable steps to ensure that HBUS was not dealing with banks

that may have links to or that facilitate terrorist financing.

HBUS opened U.S. correspondent accounts for high risk affiliates

without conducting due diligence, thereby facilitating

transactions that hindered U.S. efforts to stop terrorists.

HBUS also altered, falsified or omitted information from payment

messages that involved “prohibited” countries and institutions

for the express purpose of concealing financial activities and

transactions from detection or monitoring by the United States

authorities.1

     Before the November 9 Attack, the defendants knew that ARB

was associated with terrorist financing and that ARB provided

accounts to clients linked with terrorism.          Despite this




1 While the TAC asserts that the defendants “agreed to strip”
information from transactions involving ARB and others, the
defendants point out that any stripping of information is done
by third parties before transaction documents are sent to HBUS.
Moreover, while the TAC includes substantial quotations and
descriptions of government findings, none of those sources are
cited as providing a basis to allege that ARB and the defendants
had entered into an agreement about stripping or that any of the
defendants’ transactions with ARB were subject to stripping.
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knowledge, HBUS provided ARB with correspondent banking and

banknotes accounts.

    ARB is the largest private financial institution in the

Kingdom of Saudi Arabia.    It holds over $80 billion in assets.

ARB has been linked to terrorist organizations by United States

government authorities, including the United States Treasury and

the Central Intelligence Agency.

    The TAC alleges that members of AQI used banking and

financial services provided by ARB and that those services

helped facilitate the November 9 Attack, along with other

terrorist attacks.    The TAC alleges that purchases and expenses

directly related to the November 9 Attack, including travel and

visa costs, were underwritten by funds that moved through ARB.

    The TAC asserts that, without the defendants, AQI and al-

Queda would not have had the access to the U.S. financial system

that they needed to carry out the November 9 Attack.         By

continuing to do business with ARB even when they knew of its

connections to terrorist organizations, the defendants “allowed

AQI . . . the access to the U.S. financial system they needed to

carry out their acts of terror, including the November 5, 2009

bombing in Amman.”    Over the course of their lengthy

relationship, HSBC “provided” nearly $1 billion to ARB.           It was




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not until October 2010 that HBUS closed its banknotes account

with ARB.2

     The TAC alleges that, in providing services to ARB, HBUS

deviated from international and domestic standards which

encourage banks to monitor, report, and stop activity associated

with terrorist, criminal, or money laundering activity.          Such

standards include the 1998 Basel Committee standards and

guidelines, the Bank Secrecy Act, and standards set by the

United States Treasury Department.      The United States Senate

Permanent Subcommittee on Investigations’ 2010 Report, “U.S.

Vulnerabilities to Money Laundering, Drugs, and Terrorist

Financing” (the “Report”), which was the result of an

investigation into HSBC’s vulnerabilities to criminal activity,

highlighted HBUS’s lack of “safeguards” to protect against abuse

from terrorist organizations.     The TAC incorporates the Report.

The Report specifically mentioned HSBC’s relationship with ARB.

It stated that

     HSBC has been active in Saudi Arabia, conducting
     substantial banking activities through affiliates as well
     as doing business with Saudi Arabia’s largest private
     financial institution, al Rajhi Bank. After the 9/11

2 As noted in an earlier Opinion dismissing claims against ARB
for want of personal jurisdiction, HBUS temporarily halted
business with ARB from January 2005 to late 2006. See Siegel v.
HSBC Holdings, PLC, 17cv6593 (DLC), 2018 WL 501610, at *4
(S.D.N.Y. Jan. 19, 2018). HBUS was not doing business with ARB
at the time of the November 9 Attack. The TAC, like its
predecessors, incorporates a U.S. Senate Report which details
the timeline of HBUS’ relationship with ARB.
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    terrorist attack in 2001, evidence began to emerge that Al
    Rajhi Bank and some of its owners had links to financing
    organizations associated with terrorism, including evidence
    that the bank’s key founder was an early financial
    benefactor of al Qaeda.



                         PROCEDURAL HISTORY

    This action was initially brought in the Northern District

of Illinois.   Five defendants were named: HSBC-NA, HBUS, HSBC

Holdings, PLC, HSBC Middle East Bank Limited, and ARB.         On

January 19, 2018, after the action was transferred to this

Court, claims against HSBC Holdings and ARB were dismissed with

prejudice for lack of personal jurisdiction.        Siegel v. HSBC

Holdings, PLC, 17cv6593 (DLC), 2018 WL 501610 (S.D.N.Y. Jan. 19,

2018).    Plaintiffs voluntarily dismissed any claims asserted

against HSBC Middle East Bank Limited.

    On March 16, plaintiffs filed the TAC.         It brings a single

claim against HSBC-NA and HBUS for a violation of the ATA by

aiding and abetting its violation, including by knowingly and

substantially assisting terrorist organizations by continuing to

do business with entities it knew had links to terrorist

financing.    It asserts that HSBC’s breaches of duties to act

with the highest ethical standards, to cooperate with law

enforcement, and to conduct due diligence proximately caused the

deaths and injuries inflicted on the victims of the November 9

Attack.   Defendants moved to dismiss the TAC for failure to

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state a claim on April 6.     The motion became fully submitted on

May 11.



                              DISCUSSION

          When a party moves to dismiss for failure to state a

claim upon which relief can be granted under Fed. R. Civ. P.

12(b)(6), a court must “accept all allegations in the complaint

as true and draw all inferences in the non-moving party's

favor.”   LaFaro v. N.Y. Cardiothoracic Grp., PLLC, 570 F.3d 471,

475 (2d Cir. 2009) (citation omitted).       The complaint will

survive the motion to dismiss as long as it contains “sufficient

factual matter, accepted as true, to state a claim to relief

that is plausible on its face.”        Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (citation omitted).        “[T]he court will deem the

complaint to include any written instrument attached to it as an

exhibit, materials incorporated in it by reference, and

documents that, although not incorporated by reference, are

integral to the complaint.”     L-7 Designs, Inc. v. Old Navy, LLC,

647 F.3d 418, 422 (2d Cir. 2011) (citation omitted).

    The ATA provides that “[a]ny national of the United States

injured in his or her person, property, or business by reason of

an act of international terrorism, or his or her estate,

survivors, or heirs, may sue therefor in any appropriate

district court of the United States.”       15 U.S.C. § 2333(a).       See

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Linde v. Arab Bank, PLC, 882 F.3d 314, 331 (2d Cir 2018).

“International terrorism” is defined as acts that

    (1) involve violence or endanger human life; (2) violate
    federal or state criminal law if committed in the United
    States; (3) appear intended to intimidate or coerce
    civilian population, influence government policy, or affect
    government conduct by specified means; and (4) occur
    primarily outside the United States or transcend national
    boundaries.

18 U.S.C. § 2331(1).

    The ATA requires a showing that the defendant’s acts

proximately caused the plaintiff’s injuries.        In re Terrorist

Attacks on September 11, 2011, 714 F.3d 118, 124 (2d Cir. 2013).

The Second Circuit has noted that the following elements are

considered when determining if a plaintiff bringing claims

against a bank under the ATA has sufficiently pled proximate

cause: (1) If the Complaint “allege[s] that [the bank] was a

participant in the terrorist attacks that injured the

plaintiffs”; (2) If the Complaint “allege[s] that [the bank]

provided money to” the terrorist organizations; (3) If the

Complaint alleges that “U.S. currency [the bank] transferred to

[another country or bank] was given to [the terrorist

organization]”; If the Complaint “allege[s] that if [the bank]

had not transferred U.S. currency” the attack would not have

been otherwise funded.    Rothstein v. UBS AG, 708 F.3d 82, 97 (2d

Cir. 2013).   See also In re Terrorist Attacks, 714 F.3d at 124

(finding insufficient pleading of proximate cause “for the same

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reasons the allegations in Rothstein fell short”).         The

provision of material support to a designated terrorist

organization does not, by itself, violate the ATA.         Banks may be

found primarily responsible for an act of international

terrorism, but “providing routine financial series to members

and associates of terrorist organization” does not necessarily

satisfy the ATA’s requirements for an act of terrorism.          Linde,

882 F.3d at 327.

    In 2016, Congress amended the ATA by enacting JASTA.

“After JASTA, plaintiffs are not limited to proving their ATA

claim on a theory of . . . primary liability.”        Id. at 331.      The

JASTA amends 18 U.S.C. § 2333 by providing a cause of action “as

to any person who aids and abets, by knowingly providing

substantial assistance, or who conspires with the person who

committed . . .    an act of international terrorism.”       18 U.S.C.

§ 2333(d).   The Second Circuit has noted that “[a]iding and

abetting requires the secondary actor to be aware that, by

assisting the principal, it is itself assuming a role in

terrorist activities.”    Linde, 882 at 329 (citation omitted).

If the defendant is a financial institution, this requires a

showing that “in providing [financial] services, the bank was

generally aware that it was thereby playing a role in [the

terrorist organization’s] violent or life-endangering

activities,” which “requires more than the provision of material

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support to a designated terrorist organization.”          Id. (citation

omitted).

      Aiding and abetting, in the ATA context, requires proof of

three elements:

      (1) the party whom the defendant aids must perform a
      wrongful act that causes an injury, (2) the defendant must
      be generally aware of his role as part of an overall
      illegal or tortious activity at the time that he provides
      the assistance, and (3) the defendant must knowingly and
      substantially assist the principal violation.

Id. at 329 (citation omitted).       Six factors are relevant to the

determination of the third aiding and abetting factor:

      (1)the nature of the act encouraged, (2) the amount of
      assistance given by defendant, (3) defendant's presence or
      absence at the time of the tort, (4) defendant's relation
      to the principal, (5) defendant's state of mind, and (6)
      the period of defendant's assistance.


Id.   Under an aiding and abetting theory, to establish ATA

liability “plaintiffs [do] not have to prove that [a] bank’s own

acts constitute international terrorism satisfying all the

definitional requirements of § 2331(1).”         Id. at 328.

      In opposition to the instant motion, plaintiffs abandon any

theory of primary liability under ATA.        They advance only a

claim of aiding and abetting liability.

      The TAC does not plausibly allege that either defendant

aided and abetted a violation of the ATA.         It does not allege

any direct relationship with the terrorist organizations that

were responsible for the November 9 Attack.         It describes

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instead HSBC’s direct relationship with another financial

institution, ARB.    It is ARB that is alleged to have provided

banking services to the terrorist organizations.         It accuses the

defendants of adopting slipshod banking practices, and operating

with inadequate anti-money laundering controls, but it does not

adequately allege that the defendants were aiding the terrorist

organizations that performed the November 9 Attack.         For

instance, it does not adequately allege that the defendants were

even generally aware that the financial services they provided

ARB were directly assisting those terrorist organizations, or

even that the financial services they provided ARB substantially

assisted the terrorist organizations in carrying out the

November 9 Attack.    The TAC does not adequately allege that the

defendants assumed a role in terrorist activities.

    At most, the TAC alleges that the defendants knew they were

circumventing and violating banking regulations by providing ARB

with correspondent banking services, and that the defendants

were aware of ARB’s own connections generally with terrorist

organizations.   It accuses the defendants of continuing to

provide banking services to ARB despite knowledge of the risk

that ARB itself would use the U.S. dollars generated through

those banking services to in turn provide banking services or

even funding to terrorists.     Accepting these statements as true,

however, the TAC does not demonstrate that defendants knew that

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the financial services they provided to ARB would in turn be

given to AQI and al-Qaeda to carry out terrorist attacks,

including the November 9 Attack.        Perhaps most damning, the TAC,

by incorporating the Report, acknowledges that HBUS was not

associated with ARB at the date of the November 9 Attack, and

for ten months leading up to the attack.

    Because money is fungible and because the international

banking system depends on cooperation among financial

institutions across borders, it is particularly important to

focus with care in cases like this on each of the necessary

elements to a finding that JATSA has been violated.         Those

elements present a substantial hurdle when one financial

institution is accused of having violated the ATA by providing

assistance to terrorist organizations through engaging in common

commercial banking practices with a foreign financial

institution.   This observation is not meant to detract from the

importance of enforcing ATA and JATSA through civil lawsuits, or

to minimize the horror that terrorism brings across the globe,

including to these shores.

    Even if the TAC alleged that services the defendants

provided to ARB directly supported AQI and al-Qaeda, which it

does not, that would be insufficient.        The TAC does not allege

that the defendants were generally aware that they were playing

a role in the November 9 Attack.        As the Second Circuit has

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noted, “aiding and abetting an act of international terrorism

requires more than the provision of material support to a

designated terrorist organization.”       Linde, 882 F.3d at 329

(emphasis in original).

    Plaintiffs have failed to cite to any allegations in their

complaint that show in a plausible, non-conclusory fashion that

the defendants knowingly aided or abetted any terrorist

organization’s violent or life-endangering activities.          Their

claims must be dismissed.



                               CONCLUSION

    The defendant’s April 6 motion to dismiss the Third Amended

Complaint is granted.    The Clerk of Court shall enter judgment

for the defendants and close the case.



Dated:    New York, New York
          July 27, 2018


                                  ____________________________
                                         DENISE COTE
                                  United States District Judge




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